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'
1
    (U-1~:;t:l,     )u 1c· p;.5!ftt55/l-L cf /J-L {Ct/J~S     cf /1-0/cf11C-v1

'
Jp:tl0iv{ LS tJ/'"kdt                ZJ)- 71-d: t(/l/76} <S;,777:z:5   {!ffi!Ci

J'


lvzgcu --2>1         ;;-;l e#l!~L    Z£/'l/_/~A,,d   AP c?iaY:tas awt1 m




. i

l l/'113)11/&,1.)        )5(LJC;~   71'/?ff z&       fie@~/ t/4zl>ffi) OF




it:'~2?;9-1-z::-        ) a l.>1?;v..,,·   wt/1!/>T /J ;:Zt,;_~ 'z7:1fz /!CS.___,_/_ _ _ _ __
l /;.,v&v10u9:L-5         ~Q:~T uj)           ~ & i : Z0.-/6i C / ~


d(i877~               ur: Tc t2?-{ZU/rzy1f'/£& /l/--;L~fi-T5           C',,c' £ut)c'z.tc:i

:;;;h!z, /i7.__ 4 tctiZtr/71 o,,r Zdt..SOA.J.5,,
d
                                                         C:Z::,e,Jb ;fZ   /a,:--- ,Sp;W
: iJjJj) EiJ:EJZ.rrL li(UL5 'J2C.£'u.;/3) /-o MztZ ,·
;1~                                                           >
                                                                  77// 97 / 5 it//Yi~

: [,T~,S//0'Jv-W/7[S //t''/~                 /93 ctr-- l/,5/Z:i> ;#t?L- /4,-~,ff?t-c
: 1
      0 ,11-5/ Jndl ~-         :1'A.;,7-1 ffbt'tr ZYr!-' /}jf/ZE1M/Y} ~ a/9-i:5
;pf Id /2 I ft{YA-j.
I!

I               '                                                           2or- L/3
                                                      Case 1:21-cr-00444-JEB Document 35 Filed 11/22/21 Page 3 of 43




                                    ; itJt;?~ia Jc1.,e1/ R6v.27s c;:/<-'- t'377f!/f77,t'0 t'temZf' @L-c)"i,f£~
                                     ,. :/JU
                                        I
                                             m,1}:; £???? d11 /C?1t1( cg1t:025                                                                     c~0,.__,         yl,£),?;}5/ ~,1~5
                                     ! fta'"tted/.£:;t.~{ dz}J MCl,rl,l/7--5., ) ' @ f f ~ c,,,;/..//f,-5/p,t3 c-,,;-·

                                     .;;5;'?~1-;:i:)//v· ✓/Z-fl'k.,;r,_,,b; ;~y~E5~/,,Q~ff/7'/21t,,._'/.(:~~-;;e;_w.,,..._ _ _ _ _ __
                                     . l@~.c~ ,,L,f:f!L1t-e1L,f::;:. , abc /~;!,/77--;e,.v__ ~uept-7-t/ o/ .2>tA-;•; ,,1pp
                                     •   I                                                        .>




                                     . i     u1Z;'e;7"" c£      Mt: u:vct18(dz2;/ ?i,tc>fi:c~- 7,,:pzr oec(. ~ d"-'::_,._);_i-/4_~_/_._ _ _ _ _ _ __
                                     , I:1,,v1/!u          1/1£11;/4?.rx· d:-1--ff7v11> »kz'T/7/F ,2'¢57~1$uz7 h~/7e

                                         !
                                         lc9tt?Zf01f..vr7?2tfiovu                                                 /1?57Zf u.5er<? ti:?/21/1/4-lj Eiil?j· &TC/27
                                     ; ;,S&zJ;'.iP               u           /11,1i>t:: /C td--{Pt#Z                                  ;{Jt::yj/[,/£_~~/zf,I? ,)ps,,i7Z'l!-S/fz-a,.=:.C_'- -

-------..;~v-Z....~..,,.4<L--!'.1.::;.;l.'1(/2='1,-5u""'~·-_,__gg...::..<-,__,,_J=~l1.-'__,f%t~lh..:.:i::....:.·,::..:...::.7µ_t!,_/__;'7C:c,__£,./;_.:..,*u--.__6=~__,;i>,"-'-
                                                                                          .                                                                                                                                                 .;<-A~u-v=--- ·····-------
                                                                                                                                                                                                            ,,....,.,_,~~z...L/2,,_,_zfo2..,.·
                                                                                                                                                                             1/,_;,,;1/7.:;_::-z,c.__/,1,,_5-"·



                                     . iCµ;;zF /4d> dl/tzmc ,,7?£~_0t2ffe~6                                                                              //4&-t:;:J/)ie·                   ~0T-<-oT/1,o///W

                                         i


                                     :I;/JS,4d)                   H111 Jlao✓~r cE ./4-&?C-<AtL (;1,~))) ,5i:-,,t,2>/6f'S




                                         \Al)
                                         ,    fil!!il/Jtze:%/Z?                                    1zZL           / ! : ~ at/.:x/.f/iJ;-/-t'/J·c~;?L,£ u c : ~ - - - - - - -
                                     •i1PviJ /-;fr Cy~                                    /l ,,c.£/fdz/t:/ u?1//!1                                    ~~&< JwLLe-o                                                                         /?iLc·
- - - - ~ ·..0f::Jz' 71£{,fz'f;n;: /??ff/75 //£/Jib:z2!'c;,7L~1-/                                                                                                            @;5 ?eJ,._/ &Llf7z~{l;?,t~'

                                     · ;zi:_m5t)-T )Jr'-/2~__ZZzj!Q/./C'///f'-//,(,;zi?                                                                                      ey~ &d/< ,J/4/{~/Yh-'-'-1/z.:.cc,...-._ _ _ _ __
                                             '
                                     ii 7% J~ x /ft-/5)e/li2 ty-JzJi'~ M/2c-.tt:5// cfc /4--7'/~0.J /&~c::,e,,<- /1?-.U
           Case 1:21-cr-00444-JEB Document 35 Filed 11/22/21 Page 4 of 43




'!                                                   ,
;(!7llz',-£i,Z;t3 _· /1(y7JjT?5
: I
                                     ,1._{!'),?/-   V,vt.c~J:CLL~), 0~zy15·                    c-z d:(tc'[
;(1d :5e .ii.. M' /fr& zc3Ct2     t/l-?7/'6 C//~Y /ff /l,&-x~41)t';76wL-i>hv /AJ



    I

d<'.'1V1i3< (ZZL t,,#e'a//),JJ1/) ,)D //4/ ?c3~5>/ /v/gc'½;t..c- ~~c
.'
:.ucttAd !'~& /t-/lS /4l· £;,#O&f Lc~v /L-l./.t{l;f7< Cr/J:z--Ptc
. i
                                                                                                  C....#C)


j lJ'"'J;&rzzt / -4.5/m@2>     t,,t"CI& tz;-   /Md7,1..- <:j/- .10 //1/- c;:; /-Ct(Cl-,-:0/~-




~ ~z-us Cdzr/Zi' ~/fflv-,~ E't?.t: t.~ffet5.' vt00...:;-
;[;Jt,s12wa.s/      1./l04;-:f0,-n:7LL7,,1:tis,       a&e1(i'~5u,)[-c~2
j~Q("p?~,11,-vf/:!!'1#/'15-- /Jil               ,16:oe----.ts,   'Z?;bt117Zt: )c/7 //c.~tfZ-·.....
                                                                                              1:~,_ _ _ _ _ _ _ __

;l&k/1a--      f'.t/1111 ,U66f1/C,v c/Z / ~ ; J 'Y,q cF j        &fe)ZYFJ/'----"d;_,c~c__J..,.C,_J.,;V/4'-'A=~'--'·0c=..,__ _ _ _ _ _ _ __

iJCA- /7/f {J;ZCc/0
'!


. I



4
    V7lC/1Ptc?L Jiy,y9Jd»i✓,V //4/ uEfdi)[t?511lfl           ~')     /t1/~'7;pd} PcZ-'Slov
              Case 1:21-cr-00444-JEB Document 35 Filed 11/22/21 Page 5 of 43




  . +/1/let,·JJ //L/ 7/TL~~                    cJr ~ ~ · ;:jz-S/2e1/~$dZ,t/E_i2<2t?/9.5 . ..
  • Tl/vffYTt.v ;1~ fi'f/J7(),yl'tL C.(.,.lj-J?-i) 17¥5?A/T1 1/a,uei-~,I                    /t ~-'/'7~/.,frJ.5
  • /IJCwlJ/i,_C. !?t2.£J5J I Sc(/4,.(£/2- /f/,/~ e,,~ }JeiJ/2!1) ~r7p ~?t&
  .. JU /v~0/1/,,ft(l«Jl!j)_ IJce//z:::L,/ O/ "r0?i7c.2'', ?h~//7('/fz cw«~
  . Jvlt5 ua11t'v M.c/~r 1/"lifi?;(7ffev1 /7#,1_,!                      !h:iYc. 5:/fLJtx~ UIA/6!-,,/QZc/~<£
... , p'l-.1t1/G UC.601771.,t:-/ l!c-2J5-. ~ /M~fe/6 /,rJ ~/f/6,'tJ/,J' ~/

  ..l-1w4:0Y/:1t!?vf' /c 13Zt/£l"l!t:t· PE-/%~ &£~-zz._                                           iA/"'15. t-::-Bc

  . .f.A/vw.v iJ<: /J(µ:;,sj /J?v) ..)!!£. Wi5 !li£/},7.5L 7o ~~L/$~ £¥~wvC
    , JJ.67 C:.,:,:;J.,::i: 10,u ·-r,; '/,...,T~ /J;tj') /µ,::-
  .Jtlf(,,., JL/1/IJ £.,. . _ Y /1.IA:i. ,-.,.2     .     //C
                                                                I / ,,,- <2-7,,,;..,f'2!,fj,--- ;..,,~...., '4< y-'.77.:'
                                                                v1&     r~u-,(,., ~ P ~ "/...;>,..,N;c;.

  .. ru:).
  .. ~ /1Jt5t: Jl,;1;1l;l,rJJAE d 77/£ frLYJ                                  oF 1/4/!f_@:5.,d3c}t/
  . J;!f:P{IJ!c'./) @ P1zlt:£v,VJ Sf ?o~l/76Lf-,yS,//-1@1/l) 0/4./ /4;Z;z4:.t~U-//,,1
  .f;3;    /l-4/~7t;fz?>Z~ ;1/zfV,Q.S,                   >   lb-))   /}J.Jrl%M7       CF f}g,,5£CkZ?i~.-

  .. filt ']){fh.,1.s[    <Df!C,1%-5 11 'TJZ..~f Ht&lrft/r; /JU::t,t Wh7R" e'i-1.Pc/J_tfi
  .. P/Z?M wvc~l1fi2,,1 Pi£~0- M6.l.5 ~ !2f95 Fti?7lz6
  .ftl1ov foua,..,,;;JC, ~zs_ 0£ ~~ f;1£7ZZSZ1._1t:c;                                             /Ir~:>
  .~/./P         17/£ 842:e /9?.,/j) . JA,;fi5;/L&fl/-P4J               J1/Wvi'4,1£p,;; 7@Zcw~7

  -➔ fit£ t1.~1iJ:.. or          I   Ib /:l!. 11-IC e??wP t)/' /JFfR)t.lhttr£l 1
                                           1                                                          o,,uE
  _,/1/_Lj.jp,_,, U. 5 .      e,ozl;~s_           frµ)) ~?r.2;              MlfiV&}) !3'Js,- i};;~A,J_
  _fb46'fwl/a!1JL /h!fi_               ./tr 711[ f.4tl/v.t; o?~ J/17l~t                  Jzf31i)t!A..JT })e;1-/A-tl>

  __ 1Zvl1l _IC f_ov711yu1: f':lltll fffe1c:::T m 71-/f; vJ C/l/J;WL Lti))J/JG                         j



  ..it!fffj<:f 7b 17lt' /.,/l?,1//11_//J<e2s f/Jtio iiUICL~/ ;!-1vwcu/ve& llEL1Z.
  ..c.WT0dlt20. TP CJ!if~__Tc; TIit: (½f!llflt'#7lcv i f /7fc- ;0:u.,)
  _;.I/.. 5 . PiZ£:7)]}Cvn!11- efLZfi1eJY.
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  ••
       1
           fmo )evz~C£
  -, ·fi;JY!Jt-t2umtt1 u~vvF 7777-~ro//:3/E~C~---:~7-5
  .•tt11111     //V        /1/71'-5 ?/C77e,v1 ~ 'tzztL ~~                 //71?:c'/£) ix /,l,f,[y76dzQ
  . /b.,P lb75 olt.J,JJ,117 72' ?la'/71 //f-/c't-yJ?//~k .t?k,T,4-q-/ . ?t/J/;""e.2)                     ?-o

 _~#L',?WCtNa: })15!L/ll/!/_/f??ft Jo Ldiv 6~~1'~ /L1,1Jtl,}~q7
  . tCiflt~S/ 1f&M/vG {07., L/Jt';C/J;zjlE:o; 0/2 ,#~~~7??)1 t'O~fVt/"JlG
 . J!Jij1tJi2./>/ J},?t?A. 1w1>k2 £4e'/:.. t?/ f¼?-1'7t,,,y.[Yb7c;vu/ ~XZ-4/d ~.y:
  .fb/1J1/A,J) j)ij!,t/~CJ/l/j1 {/h/-:?fp~1J4?~ 1 1)1/~d, Jq::fl;v~:5 k
  .~f',,t!oib7Vlc:':2 l3v'rst:?J          oµ      t-oel977(:-,1.~> /~o"'~;zu4.1)f?7c.~ J>~/o~
  .c.ffr}}v;f/f7_j) Oi¥S:5/vf u5£                       Cr j?f2::£.
 _. 1k! toucuAN& na£7 P~ er.J1JZ_AJ.t£ mZ£ /fL.l                                      fy-ztJ:JttcA../3>. rµ:;t'o/

 .£Fr'lt'ti2-:> H¥~~([JA,) 1/4/41 47Z~?~mfe✓-Z,'l1 tf;;_~Z (!*;wzk~
 _.1/Uf(Mv .CJ/f'1C/£i. /'1/i/!QW.~ff tPl_<. l!Y. JZ6,5fb_A./!;r                         70 /1-.£iC-Gfr7z-v.5

  _,(!:J;Mxo~?f:T. o; A-0Tt5;                         ffl5:!er//7Qt/ ;tk.>v1i),tl) /Z'7/J J?.6~E'Kr
       u            ///)
 ... ,Tu} v1c_)e13,_ oct?1 - v-2
                                                      - rotiu
                                                     cLmwl .-:-7 77~       .
                                                                 kEJl)f?l:5 c:E /,Lb/Ji,£1.1?10 ...;
                                                                                                                     ,,
                                                                                                                      _
 .);.J)1_e/fTJ/L/G J/vU_&l7(;/J?7QMj AA/nJL}?tf~ ;),J-a,)-7J}f?u,_t;;I~ J,/ - Q-5?.
 _)-/:,7,;r;~(f-1 /.J0111ua-AJ2:1> 111J 17/t v1f:6tJcar .Jfi:E p_,;u,&ltbd-J-7ou~ __ _

 .•@ ~              J-L·(JJ3   I   t)..J - COJ,   H.-0 I I, _):I - 0 l 7; ~! -oP:,2/ ~:~-I -C?_:))/1
  .. ;Jl-:Ql--!2,1J:,J----OJ.-7 2 J-/ -CYJ--.'11 .k/-f;:)~ ~/ -Q311 )-/-O:S2,✓ 2-}_~_Q33,J.
  .)!- ()31/    1    J,;-035 1 1-1- 0J0_1 9'1-0.2 J,J-o!:>~                    P/ ·Qtt.l!, _fl! -c1.-1j:1-
 .}l ✓c_Yl1.J-l-:OJ.J     J:1--01<-1; J-/-t>1~__ lL=C!tb;1 2:,L-2't11 J../-W£1y1?. .
 ..-Pi -Otfl. VLJt"i0.x IS (£fr_ TD Pc~ L,vtftlT hiJlla. b.{~ cf
 i ,Pat[ /-jJ_!z~ tI<:1:2,~ vJ(TlhJ-J 7%5£ /11.5;3!/J& :Ctl?[J1 ~1;z-·

 ..Tftf<r vvf#'."'J\.- ~ 1AJCcu~ il'-!__)1!:>Qo.iJ!lt tf/l!£ it 1 v Me/ f?JZE,,fti-  1



-.. .1--0    2dc??1'3 !rri(t_ !v0._0/.62 :JI --CfiJ                                _____           ---· _ . __ . _

             1tti {ot,,LOv/11vC l'!-(tif!r fRon j1 ~zzvv 571fT01&~ DY//lv
                                                              &,c/ lf>
                                                                         .
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   .PfL'ft I Wt fr;;.5_;v/ttl[l/'65 .b4:&! ~ J _ ~ 0 £ S lA!~:!.7l4_,k&U2ldt/£:M{£                  ..

   ,f5-;7fJlf c~ /1-t/M)j w~f?~'&U l2tiU0/ Vl'::'1::g(t~-1f;p_llJ!!)_j];pz


   ➔•;    If/ Wlb old<:d!t-dl._~J ~/J'/l?(z?    ~g_ ?2~{Qt,1I?,      PIJZ{!./3~Jc!!J') /fr

   • ,1~_ lzb~ __ e:)/l/     J/M-v11f:t .0,;:?-P..ht, . I. 1 . . ll~ --2~V:4P/!z/5-@E£4.
     i

   .,t/d[.k1lll llll!f?:?a._@/1Jctl: .~?J0t~_Ji?fl&7~ ;;0£.~195.//T c:a~)
   . ~ MiiZ5. 1 t;..,!:rz;:t6!. 1JtQLf:. .?JM:ra/t:i2td, £&k'.v /--~~/_<f5 ./!!zZ/4. ?J.,f
         Kt2LL   C/JU-,, ~Jy ..:«.,fJJX vv?'r.5 Plf:&.?:12. 7?!/7'21;:>_ /~.£~&t;:!1_/,'
   . i :X::Cf/ZZ1eJl7:?i]LJ!.i ifr 7/'~ ~()RL .D!vlitQ!i!· /i-5              I 1-y',f.5   ~5£1.~«
   ➔ ~~ e?Z'l¥!'£ f f ll?fffLC .G(JZ.,1«3'~:{'Pg~,~)J
            .•                                                          .If J?//}?1p
   . i~)e11St          011r5 »r     a~r Zi> _/lg_ u!:51})£_ v~1/L -~-~-17~~~~
 . ~JtlL l,,[Yi( CN Zlz'£        hezi) tv,5 dt',c... l(j_q-_?:<f:12%//./:(f &1/Z~A/;t! -
          '14?
  _{.ti l_,,L '_ - I---=Nt1f
                             1
                          · ' 1 ,                    e.
                               ~- flit ~ t , i ) t-~~~ m'£.
                                                              Ou
                                                               . __j ,,t,e.:c-pNt:, MZ:
                                                                                     - /1,L,- 7·.

   .,"'lt;.,7·)1?o- r&11p),0-b _vv",1J.,,f3 E S✓.?'J!?z /J Mdclff. d12. )~.ibt'-'E
   ,j Ji7/J(/?v 1/zfk/L/~t;_d7pef z;:}z /H/74'.L, J/~4:/c;~,,v~E /~~ ~45
._ ..)J;_M 1/Jh;tJJE})_    2/1£ ~l?2£_t,Za,v.12 !-<1?!2 _/1- ~£&zit:~- t:71::::l?f
   .JMltYw!cJf1 ltfK.1~ '.'/#ff&?£ / ~/ ~ ~ - ~ - ,:?f1{Z:t~c
   .lil1/lvt;__j"{J _$;_1£ 71/k' &;vJJ     1./(;t.(;~- / W!!-/J/~~(if-V         M2&£L-:MT
  . ~f.£.ilj;ffJ 7l?t/1115.fl?1;:,,//l}f~~ffdfet:~J. .. ..
           JdCWU.1#;rfv-1% .>6,dti)uu:0               f f l~o ~ i:.1!M5/A!{i_]/Jt?Y

   .,2r.1f'2o:£1J.._1P. 3£.liizr c>E       qyz    l4"11fll_Qu.    1-6~ z~ ~:;-
   ;4- ~Llc' l ~ L - ~ f l 4zg;!!ddL Pl'£ @.~ Et/fj{?A.-,~ !9f)l;f9T
 ·-• 1Fb11v-r / J1ylrj_   {ZJAJvL~_(#Jn J1/e' l1!ii{fJlv 1#5, ~ffe:£/.?/[
_ ./JtUI/-T 1,,1-:15 /LO; /r 11:f!li LE:v£i__ a.2~&2Wlx..,, o/'-- ~L?/'2¥o
   .. t1u lfl&}) TJlt' ])rfC15_1_0,y 1l!zff• ~t.£ 1111$€ 1q z&-e.~~-~~---
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                                                                                                                               -               - -

  ., <    J w;b       IJ111te     r:f~ -ffl,:;.vj          W!n/          tJ/13~, .. /r 5!'1d-U-. 0iZcvP
  •~ CP(2/ttf?5, P/Z;oiL GK_ .5/7J? / N                 ,,wr:. &~/lfZ1) /f;f}t(L)/lc!IZfP Cfi-/z' 0/h~
  ./flvD /J3f( lf!l'11/-- /if Jut1?45 W ;?Jz1< !{£4,.;[ Ht/'/r6 1#/?/'~"1;;__
  ._,/JrJ7tt LOt..6( We5(' ?/2DvT ~~                                             u/1l_L ~ h d:7~,7,;!z                    £~-
  -~f,i!ovT/1-5 tvUL /l;;t_f) /4-0~ l/4/,LL                                  9ZJ?/~, / ~7d-:1-iL/·
  • 1l?f/Jl1Zc$ ~ /;fzp 15 /I §IX;Cd)~;;, O;? ff /1/$_C?1/,;'l'7'f,.:½7{vpa:i,;_)
  .,. /ffcV-;r- ~ e:1&.,,r m?J;.--r1..5 ['t"MµA/ff ;;-P~ / k ::f:5             ff                         *~
  • r J/~-;rfzy-l-T. 11 t/ ~lo.,u W)Z/-1.,{;c 7,,-ft /~?':S u_Cz[· / £) ;?<t:vc&,,/~c

  •/1!7PJ ;v&:;--w               rte. ; h;;i.5 µ.9;r Lz7;lt,.,b& 4vf'cudc#,l,,,2,. ~~t-6:&t/
  , / ifl,JD tv;1J/T /-if lf1rlll; 7?· C:V po/zJ)?. ~.5,;:~5                                                /r/J;z./-:,;;::;;y7,-t,Z:
  _,._eLB:IM/JJci,ty /Orte!, \(c/?2.J/-o3Z,lY!I}:)- ot."£~;y-(!c:J!j,. gzx_z-e:-t:15)
 ,. 7/i/!: (/2?1yt?f/ //JPt;f?/lftt./a:/-J/t,j) /dn'/~??'C4Y.5 0/L'-z.;:7,?7 747..5
 .. /5/7l.:7Pl.{i7 ;i!Et,t79t:5 ~,;/l-0/ /Y CY'?&'5/73/;7--z;i2, /~> ~?,_u
 .~77#JT~5 E/J;ZL.,J ~5 @~CO/,r/7 ~,t>__E;?~ 5 ~ /n-t,/;&:.,?o//'
     c__ YJ£].,7-;-y0,,
 •.• ,J<.//17A'-:f t:f.A-,2)
                               wr:"-      -~- ,?..._,
                                t:J:f:: U~V'"'i.U         ~
                                                         ,- / ,,/
                                                                    A.   t'/77.L7c~ ,,
                                                                         / /l,/,-C1/, /
                                                                                            5'-   / A , ti;/.. •~.:7.,.,.,.,.-4'?,.-,._,,(7'
                                                                                            . 1/ C-//kJ./ C ' - ' / - ~ C / .t;::,il ,


  .. ~JJ llM'f 77iltr w~ll¥~ ;;o .$cP7Wt!'l~~,;-: /?£' Jtfffe;i?/J.>t-T
 .. Wd'!; Nbt ~2) uz,;5£_ /~Jf.5 !ft:W ✓f /~/'JT /pc.,]) kzj,r:J< ~~$3/'
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 .•:IJGfp_,}),,JJ,;,- I ~ 01/77-f-0/{_)               i/4/:Jd ~µ:)_lf!!-'5/7Jq}2 7l/J2_1~_
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                   Case 1:21-cr-00444-JEB Document 35 Filed 11/22/21 Page 9 of 43




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                     Case 1:21-cr-00444-JEB Document 35 Filed 11/22/21 Page 10 of 43




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                 Case 1:21-cr-00444-JEB Document 35 Filed 11/22/21 Page 11 of 43




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                           Case 1:21-cr-00444-JEB Document 35 Filed 11/22/21 Page 12 of 43




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     Case 1:21-cr-00444-JEB Document 35 Filed 11/22/21 Page 13 of 43




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             Case 1:21-cr-00444-JEB Document 35 Filed 11/22/21 Page 14 of 43




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                                    Case 1:21-cr-00444-JEB Document 35 Filed 11/22/21 Page 15 of 43




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                                         Case 1:21-cr-00444-JEB Document 35 Filed 11/22/21 Page 18 of 43




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